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                           UNITED STATES DISTRICT COURT
                          OF THE DISTRICT OF CONNECTICUT


 KIMBERLY A. NEGRON, Individually and on
 Behalf of All Others Similarly Situated,              No. 3:16-cv-1702

                               Plaintiff,

        vs.                                            November 18, 2016

 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,

                               Defendants.


 DANIEL PERRY, Individually and on Behalf of
 All Others Similarly Situated,                        No. 3:16-cv-01904

                               Plaintiff,

        vs.

 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,
 OPTUMRX, INC.

                               Defendants.


        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO
           CONSOLIDATE AND APPOINT INTERIM CLASS COUNSEL

       Pursuant to Fed. R. Civ. P. 1, 42(a) and 23(g) and consistent with the Manual for Complex

Litigation §§ 10.123, 10.22, & 11.631 (4th ed. 2014), Plaintiffs in the above-captioned actions (the

“CIGNA Actions”) respectfully submit this memorandum of law in support of their motion to: (1)

Consolidate the above-captioned and related actions; (2) Appoint (a) as Plaintiffs’ Interim Co-

Lead Class Counsel Robert A. Izard of Izard, Kindall & Raabe, LLP (“IKR”) and William H.

Narwold of Motley Rice LLC (“Motley Rice”); (b) a Plaintiffs’ Executive Committee comprised

of Joseph P. Guglielmo of Scott+Scott, Attorneys at Law, LLP (“Scott+Scott”), Brian C.
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Gudmundson of Zimmerman Reed, LLP; Andrew A. Lemmon of Lemmon Law Firm LLC; Ronen

Sarraf of Sarraf Gentile LLP; and E. Kirk. Wood of Wood Law Firm, LLC (collectively, the

“Leadership Committee”); and (3) and establishing procedures for the consolidation of future-filed

cases.

         As set forth below, consolidation is appropriate because it would promote judicial

convenience and economy by allowing for the uniform resolution of common legal and factual

issues in a single proceeding before this Court. Appointment of Plaintiffs’ proposed Leadership

Committee is appropriate because this well-organized, cohesive group of law firms will provide

the highest caliber of representation through a client-driven leadership structure that is committed

to maximizing the recovery on behalf of the Plaintiffs and ensuring the efficient prosecution of

this litigation.

         Counsel for Defendants Cigna Corporation and Cigna Health and Life Insurance Company

have advised Plaintiffs that they have no objection to the interim schedule set forth in the proposed

order (should an Amended Consolidated Complaint be filed), and they will address, as appropriate,

the other issues presented by Plaintiffs’ Motion in their Response thereto.

                                      I.     BACKGROUND

         Plaintiffs in the CIGNA Actions each purport to represent a class of consumers challenging

Defendants’ unlawful practice of clawing back portions of the copayments or co-insurance

Plaintiffs and class members pay to receive medically necessary, covered prescription drugs.1

Defendants include health insurance companies and pharmacy benefit managers, which the health

insurance companies retain to provide the pharmacy benefits to class members. Plaintiffs allege



1
        IKR and Scott+Scott filed the two cases that are the subject of this consolidation motion.
Motley Rice intended to file a third action, but in the interest of judicial efficiency, agreed to join
in this motion and in a consolidated amended complaint rather than filing a separate action.

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that Defendants’ common fraudulent and deceptive pricing scheme artificially inflates prescription

copayment and co-insurance amounts causing consumers to pay more for prescription drugs than

they would pay if they were uninsured. Plaintiffs seek monetary damages, injunctive relief, and

other remedies as appropriate. Defendants have yet to respond to either of the CIGNA Actions

and discovery has yet to commence.

                                      II.     ARGUMENT

       A.      Consolidation would promote judicial convenience and economy because the
               CIGNA Actions involve common questions of law and fact.

       Rule 42 of the Federal Rules of Civil Procedure provides that “if actions before the court

involve a common question of law or fact, the court may: (1) join for hearing or trial any or all

matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to avoid

unnecessary cost or delay.” FED. R. CIV. P. 42(a). Broad discretion is given to the Court under

this rule to consolidate cases pending within the District. See 9 Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 2385 (2d ed. 1987).

       The federal court in Connecticut has stated: “The Federal Rules of Civil Procedure provide

that when ‘actions involving a common question of law or fact are pending before the court, ... it

may order all the actions consolidated . . . .’” Yungk v. Campbell Hausfeld/ Scott Fetzer Co., 2007

WL 2100114, at *1 (D. Conn. July 17, 2007) (citing Fed. R. Civ. Pro. 42(a)). “If the court

determines that actions do involve a common question of fact or law, consolidation will usually

be allowed unless the opposing party can show prejudice.” Id. (citation omitted). “In this regard,

the ‘court has broad discretion to determine whether consolidation is appropriate.’” Id. (quoting

Johnson v. Celotex Corp., 899 F.2d 1281, 1284 (2d Cir. 1990)).

       Consolidation is appropriate here because the CIGNA Actions present nearly identical

questions of fact and substantially similar questions of law. Each action is premised on the same



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factual predicate: that Defendants engage in an unlawful scheme to claw back portions of the

copayments or co-insurance that Plaintiffs and class members pay to receive medically necessary,

covered prescription drugs.     Both actions allege that Defendants’ common fraudulent and

deceptive pricing scheme artificially inflates prescription copayment or co-insurance amounts

causing consumers to pay more for prescription drugs than they would pay if they were uninsured.

As currently plead, both actions seek to represent overlapping classes of consumers and assert

claims for, inter alia, breach of contract, unjust enrichment, ERISA and RICO violations.

       Consolidating the CIGNA Actions to allow for unified discovery, motion practice, and trial

would promote judicial convenience and economy while reducing costs for the Parties. The

CIGNA Actions are especially well-suited for consolidation because they remain in their earliest

phases. Defendants have yet to respond to either action and discovery has not yet commenced.

       Plaintiffs respectfully request that the Court enter an Order (1) consolidating the actions,

and any other actions subsequently filed in or transferred to this District based on the same or

similar facts and legal theories, and providing for the following schedule:2

       •   Consolidated Amended Complaint Due – 30 days from the entry of the Order

           consolidating the cases and appointing Interim Co-Lead Class Counsel;

       •   Response to Complaint Due – 45 days from the filing of the Consolidated Amended

           Complaint;

       •   Opposition to Any Motion Challenge to Complaint Due – 30 days from the filing of

           the Response; and




2
  As set forth above, counsel for Defendants Cigna Corporation and Cigna Health and Life
Insurance Company have advised Plaintiffs that they have no objection to the interim schedule
set forth in the proposed order (should an Amended Consolidated Complaint be filed).

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       •    Defendants’ Reply to Opposition Due – 30 days from the filing of the Opposition to

            the Opposition.

       •    Deadlines for completing discovery, filing dispositive motions and filing a motion

            for Class Certification postponed until after the Rule 16 Conference.

       B.      Appointing Interim Class Counsel will ensure that this action is prosecuted
               efficiently and that the classes are fairly and adequately represented.

               1.      Legal Standard Governing Appointment of Interim Class Counsel

       Federal Rule of Civil Procedure 23(g) provides that a court “may designate interim counsel

to act on behalf of the putative class before determining whether to certify the action as a class

action.” Fed. R. Civ. P. 23(g). Indeed, when multiple related cases are pending, “the selection

and activity of class counsel are often critically important to the successful handling of the class

action.” Fed. R. Civ. P. 23(g) Advisory Committee Notes. The Advisory Committee Notes

explain that this is because:

       [I]t will usually be important for an attorney to take action to prepare for the
       certification decision. The amendment to Rule 23(c)(1) recognizes that some
       discovery is often necessary for that determination. Settlement may be discussed
       before certification. It may also be important to make or respond to motions before
       certification.

       The Manual for Complex Litigation (the “Manual”) provides guidance regarding the

organization of complex litigation, including the responsibilities and duties of counsel appointed

to lead such actions, the importance of the appointment of “designated” counsel and the various

organizational structures. See Manual at §§10.2, 10.21, 10.22, 10.221, and 10.224. As the

Manual explains, “[e]arly organization of the counsel who have filed the various cases transferred

or consolidated for pretrial purposes is a critical case-management task.” Id. §22.62.

       In appointing class counsel, the court “must consider”:




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        (i)     the work counsel has done in identifying or investigating potential claims in the

                action;

        (ii)    counsel’s experience in handling class actions, other complex litigation, and the

                types of claims asserted in the action;

        (iii)   counsel’s knowledge of the applicable law; and

        (iv)    the resources that counsel will commit to representing the class.

        Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv). These four factors also apply in the selection of interim

class counsel. See Adedipe v. U.S. Bank, Nat. Ass'n, No. CIV. 13-2687 JNE/JJK, 2014 WL

835174, at *2 (D. Minn. Mar. 4, 2014). In addition, the Court may consider “other matters

pertinent to counsel’s ability to represent the class.” Adedipe, 2014 WL 835174, at *2; Fed. R.

Civ. P. 23(g)(1)(B). As set forth below, based on these factors, Plaintiffs’ proposed Leadership

Committee is best suited to represent the interests of the class in this complex case and will ensure

the vigorous, effective, cooperative, and efficient prosecution of this action.

                1.        Plaintiffs’ proposed Leadership Committee is adequate and best able
                          to represent the interests of the class.

        The Leadership Committee proposes a leadership structure for this case that includes two

Interim Co-Lead Class Counsel, who will coordinate with the Court and defense counsel. The

Leadership Committee includes a five-member Executive Committee, whose members will

coordinate with and assist Interim Co-Lead Class Counsel and contribute to the costs required to

litigate a case of this size on a contingent basis.

        Courts in the Second Circuit have routinely approved similar leadership structures in

similar circumstances. See, e.g., In re: Gen. Motors LLC Ignition Switch Litig., 2016 WL 1441804,

at *2 (S.D.N.Y. Apr. 12, 2016); Fero v. Excellus Health Plan, Inc., 2016 WL 297742, at *1

(W.D.N.Y. Jan. 25, 2016); In re Initial Pub. Offering Securities Litig., 2011 WL 2732563, at *1



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n.1 (S.D.N.Y. July 8, 2011); In re Morgan Stanley ERISA Litig., 696 F. Supp. 2d 345, 350

(S.D.N.Y. 2009).

       The Leadership Committee recommended and supported by Plaintiffs is comprised of

attorneys who have previously held leadership positions in many complex cases and MDLs,

including actions involving the pharmaceutical and healthcare industries, and whose law firms

have obtained significant recoveries and have committed, and will continue to commit, the

resources necessary to see this litigation to a successful conclusion. The specific individuals and

their firms who have been proposed for leadership roles are as follows:3

                                  Robert A. Izard
                                                                           Exhibit A
                                  Izard, Kindall & Raabe LLP
             Interim Co-Lead
               Class Counsel:
                                  William H. Narwold
                                                                           Exhibit B
                                  Motley Rice LLC

                                  Joseph P. Guglielmo
                                  Scott+Scott, Attorneys at Law            Exhibit C
                                  LLP

                                  Brian C. Gudmundson
                                                                           Exhibit D
                                  Zimmerman Reed, LLP

                    Executive Andrew A. Lemmon
                   Committee: Lemmon Law Firm LLC                          Exhibit E


                                  Ronen Sarraf
                                                                           Exhibit F
                                  Sarraf Gentile LLP

                                  E. Kirk. Wood
                                                                           Exhibit G
                                  Wood Law Firm, LLC




3
       This submission is accompanied by each nominee’s firm resume, educational background,
and licensing status, and a short list of relevant experience with cases in similar areas. These
documents are attached as Exhibits A-G to the Declaration of Craig A. Raabe, filed herewith
(“Raabe Dec.”).

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                2.       The Leadership Committee has committed, and will continue to
                         commit, substantial time and resources identifying and investigating
                         the claims of the Plaintiffs and the class.

        Plaintiffs’ proposed Leadership Committee members and their clients have all brought

class actions on behalf of aggrieved consumers and have demonstrated their ability to devote the

time and resources needed to assure the best recovery for class members. Members of the

Leadership Committee have spent many months investigating the facts underlying Defendants’

fraudulent and deceptive pricing scheme to artificially inflate and clawback prescription

copayments, including by performing extensive factual and legal research, communicating with

clients, pharmacists, former employees in the pharmacy benefit management industry, and

retaining experts in the industry to understand and develop the factual allegations concerning

Defendants’ practices.

        Because Plaintiffs’ proposed Leadership Committee performed important work that has

already inured to the benefit of the class and performed a broad investigation into Defendants’

practices, the first factor of the Rule 23(g) analysis weighs heavily in favor of appointing Plaintiffs’

proposed Leadership Committee. This commitment will continue. As is evident from the firm

biographies attached to the Declaration of Craig A. Raabe as Exhibits A-G, the law firms that

comprise the Leadership Committee are well-funded and well-staffed firms that have represented

plaintiffs in some of the largest class actions in the country. They are willing and able to commit

to this litigation process regardless of its length or complexity. This factor favors appointment of

the Leadership Committee.




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               3.      The Leadership Committee has substantial experience working
                       together to successfully litigate complex consumer class actions.

       The Leadership Committee has extensive, unparalleled experience litigating complex class

actions, and has demonstrated particular success in litigating ERISA and RICO claims in actions

involving the healthcare industry.

                       a)     Interim Co-Lead Class Counsel

                              (1)     Robert A. Izard of Izard, Kindall & Raabe, LLP is
                                      adequate and able to represent the interests of the class.

       IKR is well-qualified to represent the putative class due to its substantial experience in

ERISA class action litigation. Numerous courts have recognized IKR’s superior expertise in

ERISA actions of this type.4 In particular, in In re Merck Sec., ERISA and Deriv. Litig., the court


4
        IKR, and its predecessors, have been lead or co-lead counsel in the following ERISA class
actions: Overby v. Tyco Int’l, Ltd., No. 02-cv-1357 (D.N.H.); In re Reliant Energy ERISA Litig.,
No. 02-cv-2051 (S.D. Tex.); In re AOL Time Warner, Inc. Sec. and ERISA Litig., MDL No. 1500
(S.D.N.Y.); Furstenau v. AT&T, No. 02-cv-8853 (D.N.J.); In re AEP ERISA Litig., No. C2-03-67
(S.D. Ohio); In re JDS Uniphase Corp. ERISA Litig., No. 03-cv-4743-CW (N.D. Cal.); In re Sprint
Corporation ERISA Litig., No. 03-cv-02202-JWL (D. Kan.); In re Cardinal Health, Inc. ERISA
Litig., No. C 2-04-642 (S.D. Ohio); Spear v. Hartford Fin. Svcs Group. Inc., No. 04-cv-1790 (D.
Conn.); In re Merck & Co., Inc. Sec., Derivative and ERISA Litig., MDL No. 1658 (D.N.J.); In re
Diebold ERISA Litig., No. 06-cv-0170 (N.D. Ohio); In re Bausch & Lomb, Inc. ERISA Litig., No.
06-cv-6297-MAT-MWP (W.D.N.Y.); In re Dell, Inc. ERISA Litig., No. 06-CA-758-SS (W.D.
Tex.); In re First American Corp. ERISA Litig., SA-CV07-1357 (C.D. Cal.); In re Hartford Fin.
Svcs Group. Inc. ERISA Litig., No. 08-1708 (D. Conn.); In re Merck & Co., Inc. Vytorin ERISA
Litig., MDL No. 1938, 05-cv-1974 (D.N.J.); Mayer v. Administrative Committee of Smurfit Stone
Container Corp., No. 09-cv-2984 (N.D. Ill.); In re YRC Worldwide ERISA Litig., No. 09-cv-02593
(D. Kan.); Board of Trustees v. JP Morgan Chase Bank, No. 09-cv-9333 (S.D.N.Y.); White v.
Marshall & Ilsley Corp., No. 10-cv-00311 (E.D. Wis.); Griffin v. Flagstar Bancorp, Inc., No. 2:10-
cv-10610 (E.D. Mich.); In re Eastman Kodak ERISA Litig., No. 6:12-cv-06051-DGL (W.D.N.Y.);
Kemp-DeLisser v. Saint Francis Hospital and Medical Center, No. 3:15-cv-01113-VAB (D.
Conn.); Tucker v. Baptist Health System, Inc., No. 2:15-cv-00382-SLB (N.D. Ala.); Malone v.
TIAA, No. 1:15-cv-8038 (S.D.N.Y.); Boden, et al. v. St. Elizabeth Med. Center, Inc., et al., No. 16-
cv-0049 (E.D. Ky.); Nicholson v. Franciscan Missionaries of Our Lady Health Systems, et al., No.
3:16-cv-00258 (M.D. La.); Wood v. Prudential Retirement Ins. and Annuity Co., No. 3:15-cv-1785
(VLB)(D. Conn.); Lau v. Metropolitan Life Ins. Co., No. 1:15-cv-9469 (PKC)(S.D.N.Y.); Wittman
v. New York Life Ins. Co., No. 15-cv-9596 (AKH)(S.D.N.Y.); Bishop-Bristol v. Massachusetts
Mutual Life Ins. Co., No. 3:16-cv-30082-MGM (D. Mass.); and Matthews v. Reliance Trust



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stated, “[w]hat is clear is that Schatz & Nobel [now IKR] does have substantial experience in this

area and much more experience than other contenders.” In re Merck Sec., ERISA and Derivative

Litig., No. 05-cv-1157, slip op. at 24 (D.N.J. Apr. 18, 2005).5 Similarly, the court in In re Tyco

International, Ltd., Securities Litigation found that IKR and its co-counsel “have the necessary

resources, skill and commitment to effectively represent the proposed class” and “extensive

experience in both leading class actions and prosecuting ERISA claims.” In re Tyco Int’l, Ltd.

Sec. Litig., No. 02-cv-1335, slip op. at 2 (D.N.H. Dec. 20, 2002). In the Cardinal Health case, the

court also noted IKR’s “extensive experience in ERISA litigation,” the “high level of ERISA

expertise,” and “several well-argued briefs . . . on a range of issues.” In re Cardinal Health, Inc.

ERISA Litig., 225 F.R.D.552, 555-556 (S.D. Ohio Jan. 14, 2005).

       Courts have also recognized the superior results that IKR has obtained as a result of its

experience. For example, in the Flagstar case the court found that the settlement that represented

85% of likely recoverable damages was an “excellent result” as a result of the unquestionable

“skill and expertise of [IKR and its co-counsel] who are nationally known for their successful

representation of ERISA clients in class action matters.” Griffin v. Flagstar Bancorp, Inc., No.

2:10-cv-10610 (E.D. Mich.)(Order and Opinion dated Dec. 12, 2013 at 8, 15-16). In approving

the Sprint ERISA Litig. settlement, the court found, “[t]he high quality of [IKR’s] work culminated

in the successful resolution of this complex case” and that “the results obtained by virtue of the

settlement are extraordinary. . . .” In re Sprint Corp. ERISA Litig., No. 03-cv-2202, slip op. at 33,

35 (D. Kan. Aug. 3, 2006)). In approving the $49.5 million settlement in In re Merck & Co., Inc.



Company, No. 1:16-cv-04773 (N.D. Ill.). IKR was also appointed to the Steering Committee in
Tittle v. Enron Corp., No. H-01-3913 (S.D. Tex.); In re Electronic Data Systems ERISA Litig., No.
3:02-cv-1323 (E.D. Tex.); In re Marsh ERISA Litig., No. 04-cv- 8157 (S.D.N.Y.).
5
         In the interests of judicial economy, cited slip opinions and transcripts are not attached to
this filing, but can be provided upon request.

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Securities, Derivative & ERISA Litigation, in which IKR served as Chair of the Lead Counsel

Committee, the Court stated that it was an “extremely successful and extremely appropriate and

reasonable settlement.” In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., No. 05-cv-2369,

slip op. at 15 (D.N.J. Nov. 29, 2011). In the Tyco ERISA Litigation case, the court stated that the

$70.525 million in an “extraordinarily complex case factually” was “outstanding,” and “an

extraordinary settlement given the circumstances of the case and the knowledge that [the Court]

has about the risks that the plaintiff class faced in pursuing this matter to verdict.” In re Tyco Int’l,

Ltd., Sec. Litig., No. 02-cv-1335-B, slip op. at 11, 31, 41, 61 (D.N.H. Nov. 18, 2009)). Similarly,

in Kemp-DeLisser v. Saint Francis Hosp. & Med. Ctr., No. 15-CV-1113 (VAB), 2016 WL

6542707, at *10 (D. Conn. Nov. 3, 2016), the Court found that a settlement IKR negotiated that

recovered $107 million, representing over 76 percent of the amount of alleged underfunding for a

retirement plan, was “an extremely favorable [result] for the class.”

        In the AOL Time Warner ERISA case, the Independent Fiduciary retained to review the

$100 million settlement on behalf of the AOL Time Warner retirement plans expected the case to

settle for only $70 million. In re AOL Time Warner, Inc. Sec. and ERISA Litig., No. 02-CV-1500

(S.D.N.Y), Report & Recommendation of Special Master dated August 7, 2007 at 7, approved by

the Court by Memorandum Opinion dated October 26, 2007. The Special Master reviewing an

application for attorneys' fees found that in addition to the fact that the quality of counsel’s work

was “impressive,” “[e]ven more importantly, they used the mediation process to persuade reluctant

and determined defendants to part with settlement dollars well above those expected.” According

to the Special Master, obtaining an additional $30 million for the class stands out as “some of the

hardest work and most outstanding results” obtained by IKR and its co-counsel. In negotiating




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this extraordinary settlement, IKR “stretched the defendants' settlement tolerances beyond their

limits.”

           IKR’s ERISA team is led by Robert A. Izard. Mr. Izard is the former chair of the

Commercial and Business Litigation Committee of the Litigation Section of the American Bar

Association. He received his B.A. from Yale University and his J.D., with honors, from Emory

University, where he was elected to the Order of the Coif, and served as an editor of the Emory

Law Journal. Mr. Izard has substantial jury and nonjury trial experience, including a seven-month

jury trial in federal district court. He is experienced in various forms of alternative dispute

resolution, including mediation and arbitration, and is a Distinguished Neutral for the CPR Institute

for Dispute Resolution. Mr. Izard is the author of Lawyers and Lawsuits: A Guide to Litigation

published by Simon and Schuster. In approving the Tyco settlement, the Court stated with respect

to Mr. Izard:

           I have a high regard for you. I know you to be a highly experienced ERISA class
           action lawyer. You’ve represented your clients aggressively, appropriately and
           effectively in this litigation, and I have a high degree of confidence in you so I don’t
           think there’s any question that the quality of counsel here is a factor that favor’s the
           Court’s endorsement of the proposed settlement.... I have enjoyed working with
           you in this case. You’ve always been helpful. You’ve been a gentleman. You’ve
           been patient when I’ve been working on other matters….

In re Tyco Int’l, Ltd., Sec. Litig., No. 02-cv-1335-B, slip op. at 25, 74 (D.N.H. Nov. 18, 2009))

(emphasis added). The IKR firm resume attached as Exhibit A to the Declaration of Craig A.

Raabe.

                                   (2)     William H. Narwold of Motley Rice LLC is adequate and
                                           able to represent the interests of the class.

           Motley Rice is one of the country’s largest and most well-respected plaintiffs’ firms. In

2016, the National Law Journal selected Motley Rice as one of 12 firms on its “Plaintiffs’ Hot

List.” Motley Rice is one of only two firms to make the list every year since 2012. In 2014, the



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firm was named to the National Law Journal’s inaugural list of America’s Elite Trial Lawyers as

a firm “doing the most creative and substantive work on the plaintiffs’ side.” In 2013 and 2015,

Law 360 named Motley Rice as one of the “Most Feared Plaintiffs’ Firms.”

       Motley Rice regularly handles class actions and complex litigation in jurisdictions across

the United States, and currently serves as co-lead counsel in over 30 class actions and as a member

of the plaintiffs’ steering committee in numerous MDL actions. Motley Rice has secured some of

the largest verdicts and settlements in history, in cases involving enormously complex matters.

For example, the firm is a member of the plaintiffs’ steering committee in the BP Deepwater

Horizon Oil Spill Litigation, which resulted in the largest civil class-action settlement in U.S.

history, and a member of the plaintiffs’ steering committee in In re Volkswagen “Clean Diesel”

Marketing, Sales Practices, and Products Liability Litigation, MDL No. 2672, which has led to a

nearly $15 billion settlement to compensate consumers and mitigate the impact the company’s

actions had on the environment.

       Mr. Narwold, individually, has specific experience in handling ERISA and non-ERISA

claims against pharmacy benefit managers. He has been involved in several cases alleging that

PBMs improperly profited at the expense of the very benefit funds they were supposed to be

serving. Motley Rice served on the Executive Committee in In re Express Scripts, Inc. PBM

Litigation, MDL No. 1672, which involved ERISA and non-ERISA claims, and allegations that

PBMs had defrauded benefit plans of millions of dollars by, among other things, negotiating

discounts, rebates and other concessions from drug manufacturers and pharmacy networks without

passing them on or disclosing them to the plans. The firm also represented the Southeastern

Pennsylvania Transportation Authority (SEPTA) in Southeastern Pennsylvania Transportation

Authority v. CaremarkPCS Health LP, Civil Case No. 07-2919 (E.D. Pa.), a breach-of-contract




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action against CaremarkPCS Health that alleged that Caremark improperly billed SEPTA,

improperly charged SEPTA for invalid prescription claims, and improperly retained rebates that

belonged to SEPTA. The firm also represented the Trustees of the United Food and Commercial

Workers Local Union No. 1529 in its action against Medco Health Solutions, Inc., after it opted

out of the settlement reached in In re Medco Health Solutions, Inc. Pharmacy Benefit Management

Litigation, MDL No. 1508. There, UCFW brought claims under ERISA, alleging that Medco, in

compiling formularies and implementing drug-switching programs, had favored manufacturers

who gave it secret discounts and rebates, and had improperly retained rebates from manufacturers.

The Motely Rice firm resume attached as Exhibit B to the Declaration of Craig A. Raabe.

                       b)      Plaintiffs’ Executive Committee

                               (1)    Joseph P. Guglielmo of Scott+Scott, Attorneys at Law,
                                      LLP is adequate and able to represent the interests of the
                                      class.

       Scott+Scott is a nationally recognized class action law firm headquartered in Connecticut

with offices in New York, California, Ohio, and London, England. The Firm was founded in 1975

and now has over forty attorneys dedicated to complex and class action litigation, representing

individuals, businesses, and public and private pension funds that have suffered from corporate

fraud and wrongdoing. As detailed in the attached resume, Scott+Scott, which is ranked by U.S.

News & World Report for 2016 as a “Best Law Firm,” has a proven record of successfully handling

complex consumer, antitrust, securities, ERISA, and civil rights litigation in both federal and state

courts.6




6
       A complete list of the firm’s litigation successes are included in Scott+Scott’s firm resume
attached as Exhibit C to the Declaration of Craig A. Raabe.

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       Scott+Scott and its attorneys have a proven leadership record in MDL and class cases,

serving as lead or co-lead counsel and achieving significant results on behalf of consumers

injured by fraudulent and anticompetitive conduct in cases such as:

       •   In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
           MDL 1720 (E.D.N.Y.) ($7.25 billion settlement was achieved on behalf of classes of
           consumers and merchants who paid excessive fees in connection with Visa and
           MasterCard card interchange transactions);
       •   In re Foreign Exchange Benchmark Rates Antitrust Litigation, No. 13-cv-7789
           (S.D.N.Y.) ($2 billion in settlements announced on behalf of class of purchasers of
           currencies and were injured by the alleged conspiracy to manipulate the benchmark
           rate in the foreign exchange (“FX”) market, the world’s largest and most actively traded
           financial market);
       •   In re Providian Financial Corp. Credit Card Terms Litigation, MDL No. 1301 (E.D.
           Pa.) ($105 million settlement was achieved on behalf of a class of credit card holders
           who were charged excessive interest and late charges on their credit cards);
       •   The Vulcan Society, Inc. v. The City of New York, No. 07-cv-02067-NGG-RLM
           (E.D.N.Y.) ($100 million settlement and significant injunctive relief was obtained for
           a class of black applicants who sought to be New York City firefighters but were denied
           or delayed employment due to racial discrimination);
       •   In re Korean Air Antitrust Litigation, MDL No. 1891 (C.D. Cal.) ($65 million
           settlement was achieved on behalf of a class of consumers who purchased airline
           tickets);
       •   In re Target Corp. Customer Data Security Breach Litigation, MDL No. 2522 (D.
           Minn.) (member of Plaintiffs’ Steering Committee, led discovery efforts including
           issuing over 40 subpoenas and taking depositions of key party and non-party witnesses,
           leading to preliminary approval of settlement valued at approximately $59 million,
           exclusive of attorneys’ fees, in first settlement of data breach litigation brought on
           behalf of financial institutions);
       •   In re Prudential Ins. Co. SGLI/VGLI Contract Litigation, MDL No. 2208 (D. Mass.)
           ($40 million settlement was achieved on behalf of a class of military service members
           and their families who had purchased insurance contracts); and

       •   Gunther v. Capital One, N.A., No. 09-2966-ADS-AKT (E.D.N.Y.) (a net settlement
           resulting in class members receiving 100% of their damages was obtained).

       Mr. Guglielmo, individually, has successfully represented institutional and individual

clients in securities, antitrust, and consumer litigation throughout the United States.        Mr.

Guglielmo currently serves in the leadership of numerous class actions, including In re Target


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Corporation Customer Data Security Breach Litigation, MDL No. 14-2522 (D. Minn.). He has

also been a principal in numerous other complex class actions involving the healthcare industry.

E.g. In re Managed Care Litigation, MDL No. 1334 (S.D. Fla.) (settlements exceeding $1 billion);

Love v. Blue Cross and Blue Shield Ass’n, No. 03-cv-21296 (S.D. Fla.) (settlements of

approximately $130 million and other benefits of more than $2 billion); In re Insurance Brokerage

Antitrust Litigation, MDL No. 1897 (D.N.J.) (settlements exceeding $180 million).

       Recently, Mr. Guglielmo, along with others at Scott+Scott, was recognized for obtaining a

monumental temporary restraining order benefiting New York University which prevented

removal of over $200 million from a Bernard Madoff feeder fund. In issuing the injunction, the

court stated: “Scott+Scott has demonstrated a remarkable grasp and handling of the extraordinarily

complex matters in this case. The extremely professional and thorough means by which NYU’s

counsel has litigated this matter has not been overlooked by this Court.”

       Mr. Guglielmo is an expert on electronic discovery, a subject on which he frequently

lectures, and is a member of the Steering Committee of Working Group 1 of the Sedona

Conference®, an organization devoted to providing guidance and information concerning

discovery issues involved in litigation.

                               (2)    Brian C. Gudmundson of Zimmerman Reed, LLP is
                                      adequate and able to represent the interests of the class.

       Zimmerman Reed is a litigation firm with offices in Minneapolis, Los Angeles, and

Phoenix and serves, and has served, in leadership roles in numerous complex class actions and

multidistrict litigations, within this District and nationwide. For example, Zimmerman Reed

currently serves as interim co-lead counsel in In re National Hockey League Players’ Concussion

Injury Litig., MDL 2551 (D. Minn.) and is a member of the lead counsel committee in In re:

Stryker Rejuvenate and ABG II Hip Implant Products Liability Litigation, MDL No. 2441.


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Zimmerman Reed also recently served as co-lead class counsel in In Re Target Corporation

Customer Data Security Breach Litigation, MDL No. 2522 (D. Minn.) (Financial Institutions

Track) and Dryer et al. v. National Football League, 09-cv-2182 (D. Minn.).

       Brian C. Gudmundson is a partner at Zimmerman Reed and has served in leadership roles

in a variety of complex matters. In addition to being a chief member of the leadership teams in

the NHL concussion, Target Data Breach, and Dryer matters mentioned above, he currently serves

as co-lead counsel in consumer litigation arising from the Minnesota Timberwolves’

implementation of a paperless ticketing system. He also currently serves as a court-appointed

member of the plaintiffs steering committees in in In re: Vizio, Inc. Consumer Privacy Litigation

(MDL 2693) (C.D. Cal.) (J. Staton), In Re: The Home Depot, Inc., Customer Data Security Breach

Litigation (MDL 2583) (N.D. Ga.) (J. Thrash), First Choice Federal Credit Union, et al. v. The

Wendy’s Company, et al., 16-cv-00506 (M.J. Kelly), and Bhatia, et al. v. 3M Company, 16-cv-

1304 (D. Minn.) (J. Frank). See Zimmerman Reed, LLP firm resume attached as Exhibit D to the

Declaration of Craig A. Raabe.

                              (3)     Andrew A. Lemmon of Lemmon Law Firm LLC is
                                      adequate and able to represent the interests of the class.

       The Lemmon Law Firm has substantial experience in the prosecution of class actions and

has demonstrated the ability to work in an efficient fashion in the best interests of the class. The

Lemmon Law Firm is currently serving as Lead Counsel or Co-lead Counsel in several high profile

class actions including serving as trial team member and Of Counsel to the Plaintiffs’ Steering

Committee in In re: Chinese-Manufactured Drywall Products Liability Litigation, MDL No. 2047

(E.D.L.A.), and as co-class plaintiffs’ counsel in health care litigation involving the delay in

payment by insurers and third party administrators to doctors, Lakeland Anesthesia, Inc. v. United

Healthcare of Louisiana, Inc., No. 2003-1662 (LA), and Committee Chair of the Science



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Committee and as Phase II trial and deposition team member in In re: Oil Spill by the Oil Rig

“Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179 (E.D.L.A.). The

Lemmon Law firm resume attached as Exhibit E to the Declaration of Craig A. Raabe.

                               (4)    Ronen Sarraf of Sarraf Gentile LLP is adequate and able
                                      to represent the interests of the class.

         Sarraf Gentile LLP, based in New York, handles a wide variety of complex litigation, with

an emphasis on class actions, shareholder derivative actions, and other multi-party

litigation. Sarraf Gentile has served as co-lead counsel in numerous cases involving ERISA and

securities litigation, including In re RCN Corp. ERISA Litigation, In re Ferro Corp. ERISA

Litigation, Dickerson v. Feldman, et al., Francis v. Comerica Inc. and Mellott v. ChoicePoint

Inc. The firm has recouped millions of dollars on behalf of its clients – investors, businesses,

pension plans and consumers. The Sarraf Gentile firm resume attached as Exhibit F to the

Declaration of Craig A. Raabe.

                               (5)    E. Kirk. Wood of Wood Law Firm, LLC is adequate and
                                      able to represent the interests of the class.

         The Wood Law Firm has substantial experience in the prosecution of class actions and has

demonstrated the ability to work in an efficient fashion in the best interests of the class. The Wood

Law Firm is currently serving as Co-lead Counsel or a member of the Executive Committee in

several high profile class actions including in In re: Blue Cross Blue Shield Antitrust Litigation

(Plaintiffs Local Facilitating Counsel; Plaintiffs Steering Committee); In re: Total Body Formula

Products Liability Litigation (Co-Lead and Liaison Counsel; Plaintiffs Executive Committee) and

In re: Bausch & Lomb Contact Lens Solution Products Liability Litigation (Plaintiffs Steering

Committee). The Wood Law firm resume attached as Exhibit G to the Declaration of Craig A.

Raabe.




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                4.     The Leadership Committee will commit the resources necessary to
                       fairly and adequately represent the class.

         Finally, the Leadership Committee is comprised of highly-regarded, nationally recognized

law firms with the resources and experience necessary to successfully prosecute a case of this

magnitude, as they have prosecuted very similar cases in the past. The law firms comprising the

Leadership Committee are responsible for achieving some of the largest class action recoveries in

some of the most complex, document-intensive and high-profile class actions ever. These firms

indisputably have the resources and expertise to prosecute the claims against Defendants.

Although each firm is committed to expending whatever resources are necessary to achieve a

favorable result for the class, all counsel are extremely cognizant of the need to control costs, have

diligently done so in the other complex litigation they have been involved in and will do so here.

Thus, appointment of the Leadership Committee is in the best interests of the Class under Rule

23(g).

                                      III.    CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court consolidate the

CIGNA Actions; appoint Robert A. Izard of IKR and William H. Narwold of Motley Rice LLC as

Plaintiffs’ Interim Co-Lead Class Counsel, and Joseph P. Guglielmo of Scott+Scott, Brian C.

Gudmundson of Zimmerman Reed, LLP, Andrew A. Lemmon of Lemmon Law Firm LLC, Ronen

Sarraf of Sarraf Gentile LLP, and E. Kirk. Wood of Wood Law Firm, LLC as Plaintiffs’ Executive

Committee; establish procedures for the consolidation of future filed cases; and grant such other

relief as the Court deems just and proper.


DATED: November 18, 2016
                                                      Respectfully submitted,

                                                      /s/ Robert A. Izard
                                                      Robert A. Izard (ct01601)


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                                   Proposed Executive Committee Member


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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2016, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List, and I hereby certify that

I caused the foregoing document or paper to be mailed via the United States Postal Service to the

non-CM/ECF participants indicated on the Manual Notice List.

                                                                /s/ Robert A. Izard
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